                                                                     (SPACE BELOW FOR FILING STAMP ONLY)
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 5            ATTORNEYS FOR    Defendant, Robert Moreno
 6
 7
 8                                 UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10                                                 ********
11   UNITED STATES OF AMERICA,           )                  CASE NO.: 1:07-CR-00101 AWI
                                         )
12         Plaintiff,                    )                  STIPULATION AND ORDER TO
                                         )                  CONTINUE STATUS CONFERENCE
13   vs.                                 )
                                         )                  Date: February 11, 2008
14   ROBERT MORENO, et al.,              )                  Time: 9:00 a.m.
                                         )                  HON. ANTHONY W. ISHII
15         Defendant.                    )                  Dept. 2
     ____________________________________)
16
17                  IT IS HEREBY STIPULATED by and between the parties hereto, and the United
18   States of America, through the undersigned counsel, that the date for the defendants’ Status
19   Conference in the above-captioned matter now set for February 11, 2008, be continued to March 31,
20   2008.
21                  This continuance is requested by counsel for defendant to allow additional time for
22   investigation and continued settlement negotiations.
23                  The parties further agree that this additional time period shall be excluded from
24   Speedy Trial pursuant to Title 18, U.S.C. §3161(h)(8)(A) and (B) in that the ends of justice served
25   by the continuance outweigh the best interest of the public and the defendant in a speedy trial, since
26   the failure to grant such a continuance would deny counsel for the defendant the reasonable time
27   necessary for effective preparation, taking into account the exercise of due diligence.
28   ///
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 1   DATED: February 7, 2008                       /s/ Harry M. Drandell
                                                   HARRY M. DRANDELL,
 2                                                 Attorney for Defendant, Robert Moreno
 3
 4   DATED: February 7, 2008                       /s/ Mark C. Ament
                                                   MARK C. AMENT
 5                                                 Attorney for Defendant, Ryan Nathan Friend
 6
 7   DATED: February 7, 2008                       /s/ Mark W. Coleman
                                                   MARK W. COLEMAN
 8                                                 Attorney for Defendant, Cesar Moreno
 9
10   DATED: February 7, 2008                       /s/ Carl M. Faller
                                                   CARL M. FALLER,
11                                                 Attorney for Defendant, Michael Ray Buchanan
12
13   DATED: February 7, 2008                       /s/ Daniel L. Harrison
                                                   DANIEL L. HARRISON
14                                                 Attorney for Defendant, Christopher Travis
15
16   DATED: February 7, 2008                       /s/ Stanley A. Boone
                                                   STANLEY A. BOONE
17                                                 Attorney for Plaintiff, United States of America
18
19                  IT IS SO ORDERED that the Status Conference in the above-captioned matter be
20   continued from February 11, 2008, to March 31, 2008. Time is excluded pursuant to Title 18, U.S.C.
21   §3161(h)(8)(A) and (B). For the reasons stated above, the court finds that the ends of justice served
22   by the delay outweigh the best interest of the public and the defendant in a speedy trial.
23   IT IS SO ORDERED.
24   Dated:     February 8, 2008                        /s/ Anthony W. Ishii
     9h0d30                                       UNITED STATES DISTRICT JUDGE
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